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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JOSE L. PARRA, individually and on behalf,          )
of all others similarly situated,                   )       No. 18 CV 5936
                                                    )
               Plaintiff,                           )       Hon. Edmond E. Chang
                                                    )
        v.                                          )
                                                    )
OCWEN LOAN SERVICING, LLC,                          )
                                                    )
               Defendant.                           )

                                       NOTICE OF FILING

TO:     Counsel of Record,

        PLEASE TAKE NOTICE that on this 8th day of November, 2018, the undersigned filed with
the Clerk of the United States District Court for the Northern District of Illinois, Eastern Division,
Plaintiffs’ Response to Defendant’s Motion To Dismiss, Or, In The Alternative, Motion to Stay,
copies of which have been served upon you electronically.


                                                    /s/ Larry D. Drury____________
                                                    Attorney for Plaintiff


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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies, under oath, that on November 8, 2018, I caused a copy of
the foregoing document to be filed with the Clerk of the Court using the CM/ECF system, which will
provide notification by email of such filing to all counsel of record.



                                           By:    /s/ Larry D. Drury_____________
                                                  Larry D. Drury




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